     Case 18-29462-VFP            Doc 19       Filed 02/06/19 Entered 02/06/19 14:29:04                      Desc Final
                                                 Decree Page 1 of 1
Form 177 − fnldec

                                    UNITED STATES BANKRUPTCY COURT


District of New Jersey
MLK Jr Federal Building
50 Walnut Street
Newark, NJ 07102

                                          Case No.: 18−29462−VFP
                                          Chapter: 7
                                          Judge: Vincent F. Papalia

In Re: Debtor(s) (name(s) used by the debtor(s) in the last 8 years, including married, maiden, trade, and address):
   Kevin P. Willamson
   36 Twin Brooks Trl
   Chester, NJ 07930−2818
Social Security No.:
   xxx−xx−0280
Employer's Tax I.D. No.:


                                                    FINAL DECREE



       The estate of the above named debtor(s) has been fully administered.

       If this case is a Chapter 11 or 13, the deposit required by the plan will be distributed, and it is

       ORDERED that Nancy Isaacson is discharged as trustee of the estate of the above named debtor(s) and the
bond is canceled; and the case of the above named debtor(s) is closed.


Dated: February 6, 2019                         Vincent F. Papalia
                                                Judge, United States Bankruptcy Court
